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 8                           IN THE UNITED STATES DISTRICT COURT
 9             FOR THE EASTERN DISTRICT OF CALIFORNIA, FRESNO DIVISION
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11   UNITED STATES OF AMERICA,               )      Case №: 1:18-CR-00002-LJO-SKO
                                             )
12                  Plaintiff,               )      ORDER RE: EX PARTE APPLICATION
                                             )      OF DEFENDANT JOHN DOE, aka
13           vs.                             )      MARCOS CASTRO FOR AN
                                             )      EXTENSION OF TIME TO FILE
14   ISRAEL ALBERTO RIVAS GOMEZ:             )      MOTION REQUESTING DUAL
     JOHN DOE aka “Marcos Castro,”           )      REPRESENTATION
15                                           )
                    Defendants.              )
16                                           )
17          This matter is before the Court on the ex parte application of defendant John Doe,
18   aka Marcos Castro for an extension of time to file his intended motion seeking dual
19   representation. The current deadline is June 10, 2019. Defendant requests to and until
20   June 24, 2019 to file this motion.
21          Good cause appearing, the Court grants the defendant’s application. Any motion
22   by the defendant seeking dual representation shall be filed on or before June 24, 2019.
23   Any hearing on this motion will be heard on July 8, 2019 at 10:30am.
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     IT IS SO ORDERED.

26      Dated:     June 10, 2019                       /s/ Lawrence J. O’Neill _____
                                                 UNITED STATES CHIEF DISTRICT JUDGE
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